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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

GREGORY PAUL SHERMAN,

                Plaintiff,

v.                                                                No. 1:20-cv-887 KRS

ANDREW SAUL, Commissioner
of the Social Security Administration,

                Defendant.

              ORDER GRANTING MOTION TO PROCEED IN FORMA PAUPERIS
                            AND DIRECTING SERVICE

        THIS MATTER comes before the Court upon Plaintiff’s Motion to Proceed in Forma

Pauperis with Financial Affidavit Pursuant to 28 U.S.C. § 1915. (Doc. 2). Having reviewed the

Motion, the Court FINDS that Plaintiff’s request is well-taken and should be GRANTED.

        IT IS THEREFORE ORDERED that Plaintiff’s Motion to Proceed in Forma Pauperis,

(Doc. 2), is GRANTED. Plaintiff may proceed in this action without payment of a filing fee,

costs, or security therefor.

        IT IS FURTHER ORDERED that the United States Marshal Service is directed to

serve the summons and complaint on the United States Attorney, the Attorney General, and the

Office of the General Counsel of the Social Security Administration.

        IT IS SO ORDERED.




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                                                   KEVIN R. SWEAZEA
                                                   UNITED STATES MAGISTRATE JUDGE
